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                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE SOUTHERN DISTRICT OF TEXAS                                        ENTERED
                                   HOUSTON DIVISION                                                 12/18/2018

In re:                                          §               Case No. 18-36401-H3-11
PRAGATI VAIDYA                                  §                     (Chapter 11)


                     ORDER MODIFYING AUTOMATIC STAY TO ALLOW
                        PROSECUTION OF DIVORCE PROCEEDING

       The automatic stay is modified as follows:

       1.       The debtor and debtor's spouse or former spouse may prosecute their divorce proceeding.

         2.       Orders regarding the establishment or modification of the obligation to support the
spouses may be issued. Execution of orders is allowed only to the extent permitted by 11 U.S.C. §
362(b). Other orders of the type described in 11 U.S.C. § 362(b) may also be issued and enforced by the
state court to the extent allowed by 11 U.S.C. § 362(b).

       3.      Orders respecting the division of community property may be issued by the state court
and may be enforced as follows:

       A.     If the orders pertain to property that has been determined to be exempt property under the
       Bankruptcy Code, the orders may be enforced without further order of this Court.

       B.     If the orders pertain to property that has not been determined to be exempt property under
       the Bankruptcy Code, the orders may not be enforced except as further ordered by this Court.




                                                    ReservedForJudgeSignature




             Movant Should Also Complete One Of The Attached Certificates, If Applicable




            December 07,
                     18, 2015
                         2018
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THE FOLLOWING BOX TO BE COMPLETED ONLY IF ORDER IS AGREED:


 AGREED AND ENTRY REQUESTED:


 ______________________________________________                 _____________________________________________
 Signature- Movant’s counsel(or Movant, if pro se)              Signature-Non-Movant’s counsel (or Non-Movant, if pro se)
 Name: Liza A. Greene____________________                       Name:                          _______
 State Bar No.: 14547800__________________                      State Bar No.:              __________
 S.D. Tex. Bar No.: 6709 __________________                     S.D. Tex. Bar No. ____________________
 Address: 1800 St. James Place, Suite 620 ____                  Address: __________________________
 ________Houston, Texas 77056 ___________                       _______                           ____
 Telephone: (713) 600-1717 _______________                      Telephone:                 ___________
 Fax: (713) 600-1718_____________________                       Fax:                 _________________
 E-mail: lgreene@dalefamilylaw.com _______                      E-mail:                            ___

 [Document must be signed by Debtor(s) or by Debtor(s)’ counsel or both. Electronic signatures may be
 submitted. Movant must retain copies of the original signatures.]




IF NO OPPOSITION OR REQUEST FOR HEARING HAS BEEN FILED 7 DAYS BEFORE THE
SCHEDULED HEARING ON THE MOTION TO LIFT STAY, MOVANT MAY COMPLETE AND
FILE THE FOLLOWING CERTIFICATION. IF THE CERTIFICATION IS MADE AT LEAST 2
DAYS PRIOR TO THE HEARING, MOVANT NEED NOT ATTEND THE HEARING. THE COURT
WILL EITHER ISSUE THE DEFAULT ORDER OR WILL RESCHEDULE THE HEARING IF THE
COURT DETERMINES THAT A HEARING IS NEVERTHELESS NECESSARY.



 Movant’s counsel’s certification:
 Movant’s motion for relief from the stay was served in accordance with applicable bankruptcy rules on December 12,
 2018. I have reviewed the docket sheet in this case to confirm the accuracy of the statements in this certification.
 Any trustee response that has been filed reflects an absence of opposition. Additionally, I certify that (i) no response
 has been filed by the respondent, the debtor or any creditor; (ii) although a response was filed, the only responses
 reflected an absence of opposition to the requested relief; or (iii) although a response was filed, the response did not
 deny ANY of the factual allegations in the motion.

 ________________________________________________                                            ________________
 Movant’s counsel signature                                                                  Date
 Name: Liza A. Greene______________________________
 State Bar No.: 14547800 ___________________________
 S.D. Tex. Bar No.: 6709____________________________
 Address: 1800 St. James Place, Suite 620 ______________
 ________Houston, Texas 77056_ ____________________
 Telephone: (713) 600-1717 _________________________
 Fax: (713) 600-1718_______________________________
 E-mail: lgreene@dalefamilylaw.com__________________
